                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION

STEADFAST INSURANCE COMPANY,                         )
                                                     )
                      Plaintiff,                     )     Case No.: 6:16-CV-3214-SRB
vs.                                                  )
                                                     )
ARC STEEL, LLC and                                   )
SCHINDLER ELEVATOR CORPORATION,                      )
                                                     )
                      Defendants.                    )

        NOTICE OF DEPOSITION OF KILLIAN CONSTRUCTION COMPANY

       Please take notice that Defendant Schindler Elevator Corporation (“Schindler”) will take

the deposition on oral examination of Killian Construction Company. The deposition will be

conducted at the offices of Spencer Fane LLP, 2144 E. Republic Road, Springfield, Missouri

65804 commencing at 9:00 a.m. on October 15, 2018, and continuing from day to day until

completed or as counsel shall stipulate. The deposition will be recorded by audiovisual and/or

stenographic means. Pursuant to Federal Rule of Civil Procedure 30(b)(6), the matters for

examination will include the topics listed in Exhibit A.

                                             Respectfully submitted,

                                             FOLAND, WICKENS, ROPER,
                                             HOFER & CRAWFORD, P.C.

                                             /s/ Paul L. Wickens
                                             Paul L. Wickens                    MO #23549
                                             James P. Maloney                   MO #58971
                                             Michael L. Belancio                MO #50115
                                             1200 Main Street, Suite 2200
                                             Kansas City, Missouri 64105
                                             (816) 472-7474; Fax: (816) 472-6262
                                             pwickens@fwpclaw.com
                                             jmaloney@fwpclaw.com
                                             mbelancio@fwpclaw.com
                                             Attorneys for Defendant Schindler Elevator Corp.

                                                 1

         Case 6:16-cv-03214-SRB Document 240 Filed 10/04/18 Page 1 of 5
                              CERTIFICATE OF SERVICE

       I hereby certify that on this 4th day of October 2018, the foregoing was filed via the
Court’s ECF filing system, which serves notice via e-mail to all counsel of record, and a copy
was served via e-mail upon:

Nikki Hutson
Spencer Fane, LLP
2144 E. Republic Road, Ste. B300
Springfield, MO 65804
nhutson@spencerfane.com


                                           /s/ Paul L. Wickens
                                           An Attorney for Defendant




                                              2

        Case 6:16-cv-03214-SRB Document 240 Filed 10/04/18 Page 2 of 5
                                            EXHIBIT A

     All words and phrases used in the topics of examination shall have their ordinary and
commonly understood meaning, except the words and phrases specifically defined as follows:

       a.       “SEC” or “Schindler” refers to Schindler Elevator Corporation.

       b.       “Killian” refers to Killian Construction Company.

       c.       “Steadfast” refers to Steadfast Insurance Company.

       d.       “Westminster Project” refers to the Westminster, Colorado Marriott Hotel
                construction project referenced in the Complaint in this Action.

       e.       “SEC Contracted Work” refers to the work that SEC was to perform on the
                Westminster Project pursuant to SEC’s contract with Killian dated May 13, 2013.

       f.       “White Etkin” refers to White Etkin Church Ranch Hotel Company, LLC.

       g.       “Killian’s claim”, “Killian claims”, and “Killian claimed” refer to the claim
                Killian has submitted to Steadfast pursuant to its Subguard Policy with Steadfast
                for indemnification of loss attributed to SEC’s alleged delayed performance on
                the Westminster Project or any other damage claimed by Killian/Steadfast.

       Pursuant to Federal Rule of Civil Procedure 30(b)(6), Killian Construction Company is
required to produce one or more individuals with knowledge who consent to bind Killian
Construction Company on the following subjects:

       1.       Identity of the elevator contractor(s) with whom Killian initially contracted before
                contacting Schindler and a copy of any correspondence, proposals, contracts and
                elevator specifications or plans/drawings submitted by said elevator contractor.

       2.       All documents, specifications, proposals, which make up the complete elevator
                contract between Killian and SEC.

       3.       Person with knowledge as to the schedules and time permitted in the contract
                documents to provide:

                a. design drawings/engineering specifications;

                b. to design, manufacture, deliver elevator components;

                c. to install each of the three elevators;

                d. work to be performed to confirm proper preparation of the elevator hoistway
                   and building before elevator installation.



                                                  3

            Case 6:16-cv-03214-SRB Document 240 Filed 10/04/18 Page 3 of 5
4.    Person with knowledge regarding all conditions precedent required by elevator
      contract of Killian Construction Company and its subcontractors prior to elevator
      installation, including all “work by others” to be completed before Schindler
      installation began.

5.    Person with knowledge of the status of each aspect of work to be completed by
      others on elevator hoistway preparation.

6.    Person with knowledge of any claimed delays caused by SEC and identity for
      each cause for delay.

7.    Person with knowledge of requests for overtime from subcontractors and reasons
      for denial.

8.    Person with knowledge of decision to extend the deadline for completion of the
      Marriott Westminster Project from November 2013 to April 2014, including the
      specific date the decision was made to extend the schedule.

9.    Person with knowledge of which specific contractors or subcontractors who were
      responsible for proper preparation of the elevator hoistways prior to elevator
      installation.

10.   Person with knowledge of problems/delays encountered by elevator installers and
      reason for such problems.

11.   Person with knowledge of all “critical” work needing to be completed after
      November 1, 2013, and copies of schedules identifying which work was critical.

12.   Person with knowledge of when elevators were released for construction use.

13.   Person with knowledge why re-engineering of service elevator hoistway was
      performed by Ridge Erection from October 2013 – January 2014 and which
      subcontractors of Killian were responsible for preparation of that hoistway before
      elevator installation.

14.   Person with knowledge of the actual claims process between Killian, White Etkin,
      and Steadfast Insurance.

15.   Person with knowledge of the relationship between Killian and Hendershot
      Consulting, including scope of work of Hendershot and any reports rendered by
      Hendershot.

16.   Person with knowledge of the persons with Killian Construction Company
      responsible for establishing and maintaining construction schedules on the
      Westminster Project.




                                      4

 Case 6:16-cv-03214-SRB Document 240 Filed 10/04/18 Page 4 of 5
17.   Person with knowledge of all Killian employees who were terminated from the
      Westminster construction team who were employees of Killian Construction
      Company.

18.   Person with knowledge of all work shown as “critical” on the various CPM
      schedules issued by Killian on the Westminster Project.

19.   Person with knowledge of all delays caused by any entity or natural causes.

20.   Person with knowledge of the settlement negotiations and settlement reached with
      White Etkin on the amount of the Subguard claim by White Etkin against Killian.

21.   Person with knowledge of claims and litigation involving any and all
      subcontractors of Killian on the Westminster Project, including resolution of
      claims, the factual basis for such claims and the amount received in settlement or
      disposition of each such claim.

22.   Person with knowledge who received all reports, opinions, or conclusions,
      including copies of all such documents generated by Hendershot Consulting on
      the Westminster Project.

23.   Person with knowledge of the total number of Subguard Policy claims made by
      Killian on the subject Subguard Policy with Steadfast.




                                      5

 Case 6:16-cv-03214-SRB Document 240 Filed 10/04/18 Page 5 of 5
